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              815 D. Street
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              ADP, INC.
              PO Box 842875
              Boston, MA 2284



              A-L Compressed Gases, Inc
              4230 E Trent Ave
              Spokane, WA 99202



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              412 Hopewell Rd.
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              Angela Berring
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              Antony Halks
              631 Preston Ave #3
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              Arthur W Eaton
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              Lewiston, ID 83501



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              Fulshear, TX 77441



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              Lewiston, ID 83501
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              Benjamin Prior
              1628 9th Avenue
              Clarkston, WA 99403



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              Colorado Springs, CO 80906



              Black Rifle Coffee Company
              381 West Ironwood Dr
              Salt Lake City, UT 84115



              Blake Brockman
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              Huntington Beach, CA 90703



              Blue Cross of Idaho
              PO Box 6948
              Boise, ID 83707



              Bradley Bjorkquist
              3208 6th St C
              Lewiston, ID 83501
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              Bradley Gasper
              1516 15th Ave
              Lewiston, ID 83501



              Brady King
              618 Bryden Drive Apt D
              Lewiston, ID 83501



              Brandon Dean
              2575 Reservoir Rd
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              Brenda L Anderson
              3531 13th Street
              Lewiston, ID 83501



              Brendon Martin
              2728 17th St #202
              Lewiston, ID 83501



              Brian A McCammon
              411 3rd Ave
              Lewiston, ID 83501
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              Brook Robinett
              30100 Mission Creek Rd
              Culdesac, ID 83524



              Camp Cabin & Home
              2119 4th Ave North
              Lewiston, ID 83501



              Canon
              One Canon Park
              Melville, NY 11747



              Capital One Visa Statement
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              Salt Lake City, UT 84130



              Century Link
              PO Box 91155
              Seattle, WA 98111



              Chad M Kaufmann
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              PO Box 60188
              Los Angeles, CA 90060



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              Lewiston, ID 83501



              Chris Hayes
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              Christopher Hoit
              272 Riverboat Road
              Dayton, NV 89403



              City of Jersey Viilage
              16501 Jersey Drive
              Jersey Village, TX 77040



              City of Lewiston - ALL
              PO Box 617
              Lewiston, ID 83501
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              Clark County Assessor, c/o Bankruptcy Clerk
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              Las Vegas, NV 89155-1401



              Clayton Hewitt
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              Clayton L Seely
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              Clearwater Medical Clinic
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              Dallas, TX 75266
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              Corey Van Zante
              3710 14th Street C
              Lewiston, ID 83501



              Craig Draper
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              Boise, ID 83709



              DaJo Trucking, Inc.
              4093 Lucky Lane
              Lewiston, ID 83501



              Daniel Atkinson
              3840 N Vine
              Tucson, AZ 85719



              Daniel Manuel Aguilar
              419 2nd Avenue, Apt 3
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              Dara R Bringman
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              Lewiston, ID 83501
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              David Sanborn
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              Kendrick, ID 83537



              David Town
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              Lewiston, ID 83501



              Don Crea
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              Donald E Young
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              Gary J Steckel
              1901 7th Ave 4
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              General Tool & Supply Co
              116 9th Street
              Lewiston, ID 83501



              George's Lock & Kew Service
              1728 Main St
              Lewiston, ID 83501



              Gloria Stolte
              37279 Growler Point Road
              Reubens, ID 83548



              Gordon Patrners
              4900 Woodway Drive #1125
              Houston, TX 77056



              Hahn Supply, Inc
              2101 Main Street
              Lewiston, ID 83501
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              Industrial Hearing Service Inc
              12021 NE Summer St.
              Portland, OR 97220



              Inland NW Metallurgical Services
              16203 E Marietta Ave
              Spokane, WA 99216



              Jack Landis
              216 S California St
              Yerington, NV 89447



              Jacob T Maasdam
              630 D Preston Ave
              Lewiston, ID 83501



              James Chase
              1703 Cedar Drive
              Lewiston, ID 83501



              Jansen Jonson
              3790 Foothill Drive
              Lewiston, ID 83501
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              Jeff J Lohman
              PO Box 493
              Juliaetta, ID 83535



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              Nampa, ID 83687



              Jeffrey Alan Ackeret
              2623 Sunset Dr
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              Jeremy Jenkins
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              Jesus Ramirez
              2109 Idaho Street
              Carson City, NV 89701
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              Joey Hayashi
              262 Tangerine Drive
              Buda, TX 78610



              John Kissler
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              John McClintin
              9701 Trumbull SE
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              Joseph Chase
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              Lewiston, ID 83501



              Joseph Levi Seideman
              1328 14 Ave
              Lewiston, ID 83501
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              Joshua Wemlinger
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              Julio S Chavez
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              Kathryn I Marion
              304 Watson St
              Culdesac, ID 83524



              KC Auto Paint & Supplies
              151 Thain Road
              Lewiston, ID 83501



              Keith Katzenberger
              1825 Powers Drive
              Lewiston, ID 83501
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              Kelly's Cleaning Service
              3536 8th St C
              Lewiston, ID 83501



              Kelsey Dawn Wakefield
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              Kendal Watkins
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              Kevin Robert Acree
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              Lewiston, ID 83501



              Krista Lathrop
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              Clarkston, WA 99403



              Kyle Taylor Garrison
              824 7th Street
              Clarkston, WA 99403
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              Landscapes By Design
              721 Bryden Ave
              Lewiston, ID 83501



              Lewis Clark Recyclers
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              Lewiston, ID 83501



              Lewiston Sprinkler Company
              1602 16th Ave
              Lewiston, ID 83501



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              Matthew W Shaw
              204 3rd street
              Lewiston, ID 83501



              Mesa County Sherrif's Office
              544 Rood Ave
              Grand Junction, CO 81502
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              Michael Arthur Long
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              Carson City, NV 89706



              Michael Dal Harrell
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              Michael J Carnes
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              Michael Mundy
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              Michael Rogers
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              Michael T Devin
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              9524 US-31
              West Olive, MI 49460



              Mike Doxtator
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              Milan Blagojevic-Namenska A.D.
              Radnicka DD 32240
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              12435 Tesuque Dr
              Apple Valley, CA 92308
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              Nathan Dreadfulwater
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              Billings, MT 59107



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              Novation, Inc.
              2616 N. Locust Rd.
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              PO Box 445
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              Robert Wallace
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              Roberto Garza
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              Shaun Barclay
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              Shawn Burke
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              TalkingLead, LLC
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              Murfreesboro, TN 37128
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              Trevor TJ Torrez
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              Clerk
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